                      Case 1:24-cv-00084-RC Document 1-2 Filed 01/09/24 Page 1 of 1

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                 for the
                                                         District
                                                   __________     of Columbia
                                                               District of __________

                      AKILAH ROGERS                                )
                                                                   )
                                                                   )
                                                                   )
                            Plaintiff(s)                           )
                                                                   )
                                v.                                         Civil Action No. 1:24-cv-00084
                                                                   )
 VOLTRON DATA, INC. and JOSHUA PATTERSON                           )
                                                                   )
                                                                   )
                                                                   )
                           Defendant(s)                            )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Voltron Data, Inc.
                                           The Corporation Trust Company
                                           Corporation Trust Center
                                           1209 Orange St
                                           Wilmington, DE 19801



          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: George S. Robot
                                       Stowell & Friedman, Ltd.
                                       303 W. Madison Street, suite 2600
                                       Chicago, IL 60606




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                              CLERK OF COURT


Date:
                                                                                        Signature of Clerk or Deputy Clerk
